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November 13, 2018

Kenya Rachal
Baker Donelson
One Eastover Center
100 Vision Drive, Suite 400
Jackson, MS 39211

Re: Notice ofNon-Compliance Re Paragraph 11.1 2nd Mockied SettlementAgreement and Reform Plan and
Stipulated Third Remedial Order

Dear Kenya:

Pursuant to Paragraph 11.1 of the 2nd Modified Mississippi Settlement Agreement and Remedial
Plan,("MSA") and Paragraph 10 of the Stipulated Third Remedial Order ("STRO") Plaintiffs
inform you of their intention to file a Motion with the Court to enforce their rights pursuant to
Defendants' violation of paragraph 10 of the STRO.

Specifically, defendants are in violation of the following provisions of the MSA,by failing to file
necessary information necessary to assert compliance, or by failing to provide necessary information
to Public Catalyst that can be reviewed and verified:


Section 1.2.c
Sections 1.2.d
Section 1.3.b
Section 1.4.b
Section 1.6.b
Section 2.3
Section 2.4
Section 2.5
Section 2.7
Section 2.8.b
Section 3.1
Section 3.3.
Section 5.1.c.1
Section 5.2.b.3
Section 6.2.a
Section 6.3.a.1.a
Section 6.3.a.2
Section 6.3.b.1.a
Section 6.3.b.2.a
Section 6.4.b.1
Section 6.4.c                                                                          EXHIBIT
                                                                                 2
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Section 7.1
Section 7.2
Section 7.5
Section 7.8.k
All the provisions in Child Well-Being section

Plaintiffs reserve the right to identify further sections of the MSA where data shows compliance
with a provision but which cannot be validated by the Monitor.

Very truly yours,




Marcia Robinson Lowry
